                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
 v.                                               )      No. 1:15-cr-39-CLC-SKL-1
                                                  )
                                                  )
 ROBERT R. DOGGART                                )


                                              ORDER

        Before the Court is Defendant’s Motion for Authorization and Payment for Investigative

 Services [Doc. 139] supported by the affidavit of counsel [Doc. 139-1] and a further ex parte

 supplemental filing [Doc. 144] and numerous supporting documents and affidavits [Doc. 144-1 to

 144-7]. Defendant asks the Court to authorize payment of an investigator because “does not have

 adequate resources to pay [his retained counsel] in full at the present time,” nor “does he have

 resources to pay for the investigator his defense attorneys have informed him is necessary if he is

 to be adequately represented.” [Doc. 139 at Page ID # 961. The Government filed a response

 stating it has no objection to the motion [Doc. 142].

        The Criminal Justice Act provides that the United States must bear the expense of counsel

 “. . . for any person financially unable to obtain adequate representation.” 18 U.S.C. § 3006A(a).

 “Any doubts as to the person’s eligibility should be resolved in the person’s favor; erroneous

 determinations of eligibility may be corrected at a later time.” Guide to Judiciary Policy, Volume

 7A, Chapter 2 (Appointment and Payment of Counsel) § 210.40.30(b). See also United States v.

 Gibson, No. 1:13CR49-01, 2015 WL 853415, at *3 (N.D. Ohio Feb. 26, 2015).

        Court authorized investigative services in cases where a defendant has retained counsel are



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 governed by the Guide to Judiciary Policy, Volume 7A, Chapter 3 at §310.10.10, which provides:

                (a) Investigative, expert or other services necessary to adequate
                representation, as authorized by subsection (e) of the Criminal
                Justice Act (CJA) (18 U.S.C. § 3006A), are available to persons
                who are eligible under the CJA, including persons who have
                retained counsel but who are found by the court to be financially
                unable to obtain the necessary services. (b) In this connection, a
                person with retained counsel is financially unable to obtain the
                necessary services if the person’s resources are in excess of the
                amount needed to provide the person and the person’s dependents
                with the necessities of life, provide defendant’s release on bond, and
                pay a reasonable fee to the person’s retained counsel, but are
                insufficient to pay for the necessary services.

        Defendant seeks what appears to be a reasonable amount to secure the services of a

 reputable investigator at a presumptively reasonable hourly rate.         Defendant has identified

 specific tasks for the investigator, and has explained the reasons for his inability to privately pay

 for said investigator at this time. The Court has conducted an ex parte review of the fee

 arrangement with counsel and it is neither excessive nor unreasonable. See Guide to Judiciary

 Policy, Volume 7A, Chapter 2, § 310.10.20(b). However, Defendant is currently experiencing

 cash flow issues that prevent him from hiring an investigator according to his ex parte financial

 submissions. Under these circumstances, the Court will authorize payment of up to $2,250.00 for

 the requested investigative services. See United States v. Bennett, No. 3:07-CR-81, 2008 WL

 356529, at *2-3 (E.D. Tenn. Jan. 30, 2008).

        Accordingly, Defendant’s Motion for Authorization and Payment for Investigative

 Services [Doc. 139] is GRANTED, however, Defendant is ORDERED to reimburse the Clerk of

 Court for the amount paid to the said investigator upon the anticipated correction of his cash flow

 issues. See id. (holding “the judicial officer . . . should direct [defendant] to pay the available

 excess funds to the clerk of the court at the time of such appointment and from time to time

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 thereafter.”) (quoting Guide to Judiciary Policy, Volume 7A, Chapter 2 at § 2.10.40.40)).

        SO ORDERED.

        ENTER:

                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




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